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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


RYANAIR DAC,
                             Plaintiff,
                                                       C.A. No. 20-01191-WCB
                  v.

BOOKING HOLDINGS INC.,
BOOKING.COM B.V., KAYAK SOFTWARE
CORPORATION, PRICELINE.COM LLC,
and AGODA COMPANY PTE. LTD,

                             Defendants.



               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiff Ryanair DAC (“Plaintiff”) and Defendant Booking.com B.V. (“Defendant”), have

agreed to dismiss Defendant’s Fourth Counterclaim (Trade Libel), with prejudice.

       Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), IT IS HEREBY

STIPULATED AND AGREED, by and between counsel for Plaintiff and Defendant, that

Defendant’s Fourth Counterclaim (Trade Libel) is hereby dismissed with prejudice. Ryanair and

Booking.com B.V. shall bear their own costs, expenses, and attorneys’ fees.
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Dated: July 18, 2024

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Defendant, Ryanair DAC

                                           ORDER

       IT IS SO ORDERED.

       SIGNED this 18th day of July, 2024.
                                                   ____________________________________
                                                   WILLIAM C. BRYSON
                                                   UNITED STATES CIRCUIT JUDGE

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